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DIAMOND McCARTHY LLP                                                 Hearing: January 17, 2018 at 2:00 pm
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Energy LLC and GS Energy LLC



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------   x
In re:
                                                                      Chapter 11
         PONDEROSA ENERGY, LLC and                                    Case No. 17-13484-SHL
         GS ENERGY, LLC1                                              (Jointly Administered)

                                             Debtors.
------------------------------------------------------------   x


               DEBTORS’ OPPOSITION TO MOTION TO TRANSFER VENUE

         Ponderosa Energy, LLC (“Ponderosa”) and GS Energy, LLC (“GSE”) (collectively,

Ponderosa and GSE are the “Debtors”), the debtors and debtors-in-possession in these jointly

administered chapter 11 cases respectfully oppose the Motion to Transfer Venue of These Cases

to the Northern District of Texas [ECF No. 30] filed by two of the Debtors’ creditors for the

reasons set forth below.



1
         The last four digits of each Debtor’s federal tax identification number are: Ponderosa Energy, LLC (6262)
         and GS Energy, LLC (3426).
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                                          SUMMARY

       1.      The Debtors chose to reorganize in the Southern District of New York because

management is here. All major financial and operational decisions of these Debtors are made by

a team of executives who work at the Debtors’ offices on Fifth Avenue. The Debtors’ ongoing

restructuring efforts, including its successful effort to obtain debtor-in-possession financing and

its ongoing efforts to secure additional funding, are all directed from New York.

       2.      While it is true that the Debtors’ principal assets are oil and gas leases in Texas,

and some of the Debtors’ creditors also do business in Texas, those considerations do not warrant

disrupting the administration of these estates by sending these cases to a court over 1700 miles

away from where management is actively engaged in financing and restructuring efforts.

       3.      Congress expressly recognized that the location of a debtor’s principal assets

might not be the same as its principal place of business. See 28 U.S.C. § 1408. The movants

here do not argue that venue would be improper in New York. Instead, they argue under § 1412

that it would be more “convenient” or that “justice” would be better served by moving these

cases to Texas. The facts here support neither ground for transfer.

       4.      Convenience favors keeping these cases in New York for the benefit of the

Debtors’ management team. Virtually every issue requiring a factual record in these cases would

involve the testimony of a New York-based member of management.               Any review of the

Debtors’ books and records would occur in New York because that is where the books and

records are kept. The successful reorganization of these Debtors will also likely depend on the

financing and restructuring efforts currently underway in New York between the Debtors’ New

York-based executives and primarily New York-based funding sources and counterparties.




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       5.      The movants’ convenience argument is weak. While the PPF parties claim to be

based in Dallas, the principals involved in negotiating the loans to the Debtors are based in

Denver and Chicago. PPF’s lending decisions are made in Europe. If witnesses on those issues

are needed, it makes little difference whether they fly to Amarillo or New York. (The Debtors’

primary assets are all located within the Amarillo Division of the Northern District of Texas.)

Even PPF’s representative in Dallas would have to fly over 360 miles to get to Amarillo. Flying

to New York only slightly less convenient. As for other creditors, some may have offices or

representatives near Amarillo, but others are spread throughout Texas. The movants can barely

show a transfer of venue would be more convenient for them, let alone everyone else.

       6.      The “interest of justice” also strongly favors New York.            The efficient

administration of these cases is best served by staying close to the management team that is

operating the Debtors and managing their finances. The movants argue that the pendency of

three Texas state-court cases involving the Debtors require a transfer of venue to Texas. To the

extent those litigations are central to the Debtors’ reorganization, they should be resolved in

federal Bankruptcy Court. There is therefore no “learning curve” advantage for the Bankruptcy

Court for the Northern District of Texas that would justify moving these cases.

       7.      Courts have good reason to deny motions to transfer venue that would only serve

to shift a travel inconvenience from one party to another. When venue is proper in the debtor’s

chosen forum, courts will not disrupt that choice in the absence of a compelling reason. Here,

venue is undisputedly proper in this District, and the efficient administration of the cases is

enhanced by staying close to the management team that is running the Debtors and organizing

their restructuring efforts. The Court should deny the motion to transfer venue.




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                                       BACKGROUND

       8.      On December 5, 2017, the Debtors filed voluntary petitions under chapter 11.

       9.      The Debtors continue to operate their businesses as debtors-in-possession.

       10.     The Debtors are oil and gas exploration and production companies.

   a. The Debtors’ Management

       11.     The Debtors are managed by a team who works at the Debtors’ offices at 745

Fifth Avenue, Suite 537, New York, NY 10151 (the “NY Office”). The NY Office is leased by

Ponderosa, which shares the space with its co-debtor GSE. Ponderosa also shares the space with

non-debtor Ponderosa TX Operating LLC (“TXOP”), which operates the mineral leases held by

Ponderosa. GSE operates its own mineral leases.

       12.     The Debtors’ management team consists of Richard Sands and Adam Sands.

Richard and Adam provide managerial and administrative services to both Debtors. Since the

bankruptcy filing, TXOP has paid Richard and Adam and reserves the right to assert claims

against the Debtors’ estates for the value of those services as administrative expenses. TXOP is

doing this to minimize the cash expense burden on the Debtors as they go through the

reorganization process.

       13.     Richard provides managerial services and ultimate executive oversight over the

financial and operational decisions of the Debtors. Richard is primarily responsible for setting

the strategic vision for the Debtors, making final decisions on operational and financial issues

and obtaining financing. Richard is primarily responsible for arranging financing in support of

the ongoing restructuring process of the Debtors. Richard lives in New York.

       14.     Adam Sands focuses on the operations of the Debtors. Adam oversees operation

of the wells, approves spending, tracks production, sales, and receivables, facilitates compliance


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with the Railroad Commission of Texas – the state agency that regulates the oil and gas industry,

communicates with vendors and customers, ensures compliance with royalty payment

requirements, and makes other day-to-day decisions relation to management of the Debtors’

assets. Adam lives in New York.

       15.     All of the major financial and operational decisions of the Debtors are made by

the management team composed of Richard and Adam.

       16.     There are three other individuals who act in an advisory capacity. All three are

paid by TXOP. As with Richard and Adam, TXOP reserves the right to assert claims against the

Debtors’ estates for the value of the services provided by these individuals as administrative

expenses.

       17.     William “Bill” Poon provides primarily administrative services for the Debtors.

Bill updates the Debtor’s accounting records, maintains insurance coverage over the hundreds of

wells and leases owned by the Debtors, manages human resources, and performs additional

administrative duties that are crucial to allowing the Debtors to operate their businesses. Bill is

also involved in financing and restructuring efforts. Bill lives in New York and works out of the

Debtors’ NY Office.

       18.     Cory Meadows is an independent contractor with TXOP and is based in Borger,

which is in the Northern District of Texas. Cory provides consulting on field-level operations

from time to time. Cory has no authority to set company policy. Cory is responsible for carrying

out the decisions made by management.

       19.     Murray Grigg holds a minority interest in an entity that holds an interest in the

entity that owns Ponderosa. Murray lives in Houston, which is located in the Southern District

of Texas. Murray from time to time consults with the management team on strategic decisions


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of the company. Murray also maintains from time to time a limited number of well files in

Houston. All other files and books and records of the Debtors are in New York.

   b. The Debtors’ Finances

       20.     The Debtors each maintain one bank account at Signature Bank in New York.

       21.     The Debtors’ financial books and records are maintained at the NY Office.

       22.     The Debtors’ operational books and records, with the exception of some well files

maintained by Grigg, are maintained at the NY Office.

       23.     The Debtors’ interim debtor-in-possession financing was extended by an entity

affiliated with Richard that is based in New York.

       24.     Richard continues in his efforts to secure financing in support of the effective

reorganization of the Debtors. Those efforts occur almost entirely in the New York metropolitan

area. The main sources of financing are New York based. The efforts are coordinated from the

Debtors’ NY Office.

   c. The Debtors’ Assets

       25.     Aside from the Debtors’ bank accounts and books and records, which are located

in New York, the Debtors’ only assets are oil and gas leases located in counties within the

Amarillo Division of the Northern District of Texas.

       26.     The Amarillo Division sits in the J. Marvin Jones Federal Building at 205

Southeast Fifth Avenue, Amarillo, Texas 79101. This is about 360 miles from Dallas, 600 miles

from Houston and 1700 miles from New York.

   d. The PPF Entities

       27.     The movants are Petroleum Production Finance, Inc., PPF 2 LLC and PPF 3 LLC

(collectively, the “PPF Entities”).   The PPF Entities are secured creditors of the Debtors,


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although the amount and validity of their claims are in dispute. The Debtors have filed an

adversary against the PPF Entities and others for, among other things, fraud and usury.

       28.      The PPF Entities are ultimately owned or controlled by Oppenheimer Resources

SICAV-SIF, a Luxembourg entity. The lending decisions of the PPF Entities are made in

Europe, not Texas.

       29.      The PPF Entities’ principals who negotiated the loans to the Debtors were Davis

Martin, Peter Tresslar, Robert Tresslar and John Lane. Martin is based in Dallas, Peter Tresslar

is based in Chicago, and Robert Tresslar is based in Denver. Lane’s whereabouts are unknown.

                                          ARGUMENT

       30.      As a threshold matter, no one disputes that venue is proper in this District under

28 U.S.C. § 1408. Section 1408(1) places venue in the district of “the domicile, residence,

principal place of business in the United States, or principal assets in the United States.” Id.

Venue is proper in the Southern District of New York because the Debtors’ principal place of

business is the NY Office on Fifth Avenue. The movants do not dispute this.

       31.      Instead, the PPF Parties seek to transfer venue to the Northern District of Texas

under 28 U.S.C. § 1412 and Rule 1014 of the Federal Rules of Bankruptcy Procedure. Those

authorities provide that, even where venue is proper under Section 1408, the Court may transfer

a case to another district either “in the interest of justice or for the convenience of the parties.”

28 U.S.C. § 1412; Fed. R. Bankr. P. 1014(a).

       32.      “[T]ransfer is a cumbersome disruption of the Chapter 11 process,” In re Pavilion

Place Associates, 88 B.R. 32, 35 (Bankr. S.D.N.Y. 1988), and “is not to be taken lightly.” In re

Enron Corp., 274 B.R. 327, 342 (Bankr. S.D.N.Y. 2002), abrogated on other grounds, 317 B.R.

629 (Bankr. S.D.N.Y. 2004) (citing Matter of Commonwealth Oil Refining Co. (CORCO), 596


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F.2d 1239, 1248 (5th Cir. 1979)). Where venue is proper under § 1408, a debtor’s preferred

venue is entitled to “great weight.” In re Patriot Coal Corp., 482 B.R. 718, 739 (Bankr.

S.D.N.Y. 2012). Accordingly, the party seeking to transfer venue bears “a heavy burden of

proof.” In re Lionel Corp., 24 B.R. 141, 142 (Bankr. S.D.N.Y. 1982).

       33.     The movants cannot carry their burden under either the “convenience of the

parties” or the “interest of justice” test. Convenience of the management team weighs strongly

in favor of keeping these cases close to home, even if the movants might suffer the incremental

inconvenience of flying from Dallas to New York, rather than from Dallas to Amarillo, for

hearings. Justice is best served by respecting management’s decision to reorganize in the same

District where the very people who are carrying out the restructuring live and work.

I.     The Debtors’ Restructuring Should Stay in New York Where Management Is.

       34.     Venue choices rarely please everyone. A debtor’s chosen forum “is entitled to

great weight,” Patriot Coal, 482 B.R. at 739, and a motion to transfer venue should be denied

where transfer “would merely shift the inconvenience from one party to the other, or where after

balancing all the factors, the equities leaned but slightly in favor of the movant[.]” In re Garden

Manor Assocs., L.P., 99 B.R. 551, 555 (Bankr. S.D.N.Y. 1988) (internal quotations omitted).

       35.     The factors bearing on the convenience of the parties include: the proximity of

the creditors and the debtor to the Court, the proximity of witnesses necessary to the

administration of the estate, the location of assets, the economic administration of the estate and

the need for ancillary administration in the event of liquidation. CORCO, 596 F.2d at 1247; see

also Enron, 274 B.R. at 343 (“The seminal circuit court case on the issue of whether to transfer

venue of a bankruptcy case under 28 U.S.C. § 1412 and Federal Rule of Bankruptcy Procedure

1014 is CORCO.”). “The most weight is given to the promotion of the economic and efficient


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administration of the estate.” In re Dunmore Homes, Inc., 380 B.R. 663, 676 (Bankr. S.D.N.Y.

2008); see also CORCO, 596 F.2d at 1247.

       36.     Here, the factors weigh in favor of keeping the cases in New York because that is

the location of the Debtors’ management team and their ongoing restructuring efforts, even if

some creditors might find it more convenient to travel a shorter distance to the courthouse.

       A.      New York is the Most Efficient Place to Administer the Estates.

       37.     Both Debtors are controlled and managed by a management team, both of whom

live in New York and work at the Debtors’ office on Fifth Avenue. Although the Debtors’

principal assets are located in Northern Texas, the decisions governing the operation of those

assets occur in New York.

       38.     The success of these cases will turn in large part on the financing and

reorganization efforts of the management team in New York. The Debtors’ current debtor-in-

possession financing was extended by a related entity located in New York. The Debtors’ efforts

to raise additional funds are based in New York and are directed primarily at New York lenders.

       39.     In short, the success of these cases is

       dependent upon a group of professionals and business people who have
       determined that [New York] is the proper venue for the case. Were the venue to
       change, it would not result in a change in the key individuals that are making
       decisions . . . . Rather, [it] would simply make it that much less convenient for
       [the Debtors’] decision-makers to efficiently and economically administer [the]
       estate[s].

In re Enron Corp., 284 B.R. 376, 394 (Bankr. S.D.N.Y. 2002), abrogated on other grounds, 317

B.R. 629 (Bankr. S.D.N.Y. 2004).

       40.     The Enron court’s reasoning applies with equal force here, where a transfer of

venue to Texas would simply impose an additional time and expense burden on the Debtors’

management team. New York is plainly the most efficient location to administer the estates.

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       B.      The Debtors and Witnesses Are in New York, but Some Creditors Are Not.

       41.      As discussed, the Debtors themselves are managed from New York.                      The

members of the Debtors’ management team are the most likely to be the witnesses to build a fact

record with respect to key issues in this case – including venue. Information related to the

Debtors’ finances and operations resides in New York with the management team. Therefore,

the proximity of the Debtors and the witnesses are factors that weigh against transfer.

       42.      The movants claim that New York is inconvenient because many creditors appear

to be based in Texas. This can be misleading. Texas is big. Travel within Texas is not

necessarily more convenient than travel to New York. Because the Debtors’ assets are all

located within the geographic territory of the Amarillo Division of the Northern District of

Texas, these cases would likely be assigned to that Division. Amarillo is about 360 miles away

from Dallas, where the PPF Parties say they are based. It is not at all clear that travel to New

York – which is a major city served by three airports with hundreds of flights a day – would be

any less convenient than travel to Amarillo, a relatively small city with far less infrastructure.

       43.      Further, access to the courts is not the challenge it once was.           This Court

routinely allows parties to participate by phone and make filings online. Finally, because an

Official Committee of Unsecured Creditors has been appointed, there is less reason for concern

that the cost of travel would prevent effective representation of creditors with smaller claims.

With a committee in place transfer of venue likely would have little or no effect on creditor

participation. See In re Walston AirBusiness, Inc., 26 B.R. 955, 958 (Bankr. N.D. Ill. 1983)

(reasoning that formation of unsecured creditors’ committee reduced the need for involvement of

many individual creditors outside the district).




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        44.     Here, the proximity of the parties and witnesses favors venue in New York. As

the Enron court explained, even if the proximity of creditors “were to strongly favor transferring

venue, this factor alone would not be determinative.” 284 B.R. at 400. The convenience of the

Debtors’ management, who are critical to every aspect of these cases and who are the most likely

witnesses on key issues, outweigh the convenience of a subset of creditors.

        C.      Location of Assets and Need for Ancillary Proceedings Upon Liquidation.

        45.     Aside from the Debtors’ bank accounts in New York, the primary assets are oil

and gas leases located in the Amarillo Division of the Northern District of Texas. These assets

are administered from the Debtors’ offices in New York.

        46.     Anticipation of liquidation is generally “‘an illogical basis upon which to

predicate a transfer.’” Enron, 284 B.R. at 403 (declining to transfer venue to the location of

assets that the debtor anticipated selling because there was no expectation of a conversion to a

chapter 7 case) (quoting CORCO, 596 F.2d at 1248). Even so, liquidation of these assets will

likely involve a search for buyers on a national or even international basis.               There is no

demonstrable benefit to moving these cases to Texas at this time.

        47.     As several courts have noted, the location of the assets of the Debtor is often “not

particularly important.” In re One-Eighty Invs., Ltd., 18 B.R. 725, 729 (Bankr. N.D. Ill. 1981);

see also Enron, 284 B.R. at 390; CORCO, 596 F.2d at 1248. This is particularly true because the

“goal of the bankruptcy is rehabilitation rather than liquidation.” CORCO, 596 F.2d at 1248. In

these chapter 11 cases, the location of the assets weighs little, if at all, in favor of transfer.

        48.     Taken together, the convenience factors weigh in favor of keeping venue in New

York. Although some creditors might prefer to litigate in the Northern District of Texas, it




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would be improper to disturb the Debtors’ own reasoned decision to restructure in the forum

where its management team resides and its reorganization efforts are based.

II.    Justice Favors Respecting Management’s Chosen Venue in New York.

       49.      The “interest of justice” prong is a “broad and flexible standard” that focuses on

whether transfer “would promote the efficient administration of the bankruptcy estate, judicial

economy, timeliness, and fairness.” In re Manville Forest Prods. Corp., 896 F.2d 1384, 1391

(2d Cir. 1990). “[T]he considerations involved with the interest of justice are intertwined with

the economic and efficient administration of the estate.” Enron, 284 B.R. at 404.

       50.      In addition to the economic and efficient administration of the case, courts also

look to the interest of judicial economy, where the parties can get a fair trial, the interest of the

forum in deciding the controversy within its borders, the enforceability of any judgment and the

plaintiff’s original choice of forum. Dunmore, 380 B.R. at 672; see also id. The most important

factor is usually the efficient administration of the estate. Patriot Coal, 482 B.R. at 747.

       A.      Efficient Administration Strongly Favors New York.

       51.      As discussed above, the Debtors’ management team is located in New York and

the all of the Debtors’ major financial and operational decisions are made there. It would be

hugely disruptive to the management team and to the reorganization process to move these cases

over 1700 miles away to the Northern District of Texas. Administration of these cases would

suffer under the time and expense burden placed on management by moving these cases.

       52.      To evaluate the economic and efficient administration of the estate, courts

consider where the debtor’s business is conducted, major business decisions made, and the

location of likely sources of capital.   Garden Manor, 99 B.R. at 554-55. All of those things are

located or taking place in New York.


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       B.      Judicial Economy Would Not Be Enhanced by Changing Venues.

       53.      The movants argue that pending state-court cases involving the Debtors in Texas

warrant a transfer of venue. The movants cite no case law, and the Debtors are aware of none,

that supports the notion that pending state-court litigation involving a debtor is, alone, a

sufficient reason to transfer venue of a chapter 11 case to another federal bankruptcy court that

happens to be in the same state as the pending litigation. No “learning curve” advantage applies

because none of these cases are currently pending in Bankruptcy Court for the Northern District

of Texas.

       54.      To the extent any of the state-court litigation raises issues that are central to the

administration of these cases, as the PPF Parties imply, those issues should be resolved in a

federal forum as part of a coordinated and comprehensive reorganizational effort. See, e.g., In re

Iridium Operating LLC, 285 B.R. 822, 837 (S.D.N.Y. 2002) (noting Congressional policy in

favor of “centralizing all core matters in the bankruptcy court”); see also In re Salander-O'Reilly

Galleries, LLC, 475 B.R. 9, 27 (S.D.N.Y. 2012) (“[B]ankruptcy courts are not precluded from

adjudicating state-law claims when such claims are at the heart of the administration of the

bankrupt estate”). This Court is more than equipped to adjudicate the sort of garden variety

breach of contract and fraudulent misrepresentation claims raised in the state-court litigation and

described at length in the Motion to Transfer Venue.

       C.      The Parties Can Get a Fair Trial in New York.

       55.      The movants can get a fair trial in New York, so this factor does not weigh in

favor of a transfer of venue.




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       D.      Both New York and Texas have an Interest in Adjudicating these Cases.

       56.      While Texas courts no doubt have an interest in resolving controversies within

the borders of that state, New York similarly has an interest in facilitating the effective

reorganization of businesses that operate within its borders. Moreover, the disputes here are

primarily contractual in nature and concern the validity and extent of secured loans from the PPF

Parties to the Debtors. While the lenders are in Texas, the borrowers are managed in New York.

Both states have an interest in making sure these cases are a success and that these Debtors are

reorganized successfully.

       E.      New York Judgments Are Enforceable in Texas.

       57.      The movants do not claim that the decisions of this Court would not be

enforceable in Texas, so this factor does not weigh in favor of transfer of venue. Indeed, to the

extent the judgment of this Court would have to be domesticated in Texas for enforcement, the

same is true of a federal court sitting in Texas.

       F.      The Debtors’ own Choice of Venue Should Not Be Disturbed.

       58.      The Debtors’ management team carefully considered multiple venue options in

these cases. These included Delaware, where the Debtors are domiciled by virtue of their

organizational law, Northern Texas, where the primary assets are, and the Southern District of

New York, where the management team is located.

       59.      Management selected New York to maximize the efficiency of the bankruptcy

process. Management knows that they will likely travel to court on a regular basis, both to

provide testimony and to continue to manage the restructuring process. Management rejected the

notion of traveling to Wilmington constantly for these cases because it would be an

inconvenience and an unnecessary distraction. Similarly, management determined that filing


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these cases in Texas would provide no significant benefit to the Debtors and their reorganization

efforts.

           60.    This Court should respect the Debtors’ analysis and choice of venue and deny the

movant’s motion to transfer venue.

                                            Conclusion

           61.    For the foregoing reasons, the Motion to Transfer Venue should be denied.

Dated: New York, New York

           January 10, 2017                           Respectfully submitted,

                                                      DIAMOND McCARTHY LLP

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                                                      Proposed Counsel to Debtors
                                                      and Debtors-In-Possession




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